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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

4ELEVEN CONSULTING, LLC             :
                                    :
      Plaintiff,                    :
                                    :
v.                                  :                 Case No. 16-cv-02976 JKB
                                    :
TRIDENT LABS, LLC                   :
                                    :                 JURY TRIAL DEMANDED
      Defendant.                    :
___________________________________ :

                              ANSWER TO COMPLAINT

       COMES NOW Defendant Trident Labs, LLC, by and through counsel, Joseph A.

Compofelice, Jr., Esq. and MarcusBonsib, LLC, and pursuant to Fed. R. Civ. P. 8 and 12

hereby answers Plaintiff’s Complaint as follows:

                                    INTRODUCTION

       1.      The allegations in the first sentence of paragraph 1 constitute introductory

verbiage to which no response is required. To the extent a response is deemed required,

Defendant denies all liability as alleged by Plaintiff. Defendant denies the allegations in

the second sentence of paragraph 1.

                                           PARTIES

       2.      The allegations in paragraph 2 solely concern persons or parties other than

Defendant and therefore require no response. To the extent a response is deemed

required, Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 2.

       3.      Defendants admit the allegations in paragraph 3.




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                             JURISDICTION AND VENUE

          4.    The allegations in paragraph 4 constitute conclusions of law and therefore

require no response.

          5.    The allegations in paragraph 5 call for a legal conclusion and therefore

require no response.

                              FACTUAL BACKGROUND

          6.    The allegations in paragraph 6 solely concern persons or parties other than

Defendants and therefore require no response. To the extent a response is deemed

required, Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 6.

          7.    Defendant admits the allegations in paragraph 7 to the extent it executed

the “Compensation Agreement” attached to Plaintiff’s Complaint as Exhibit A.

Defendant refers to the Compensation Agreement for the terms thereof as the document

speaks for itself.

          8.    The allegations in paragraph 8 refer solely to the terms of the

“Compensation Agreement” attached to Plaintiff’s Complaint as Exhibit A. Defendant

refers to the Compensation Agreement for the terms thereof as the document speaks for

itself.

          9.    Defendant admits the allegations in paragraph 9.

          10.   The allegations in paragraph 10 refer solely to the terms of the March 15,

2016 letter attached to Plaintiff’s Complaint as Exhibit B. Defendant refers to the letter

for the terms thereof as the document speaks for itself.




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       11.     The allegations in paragraph 11 refer solely to the terms of the April 1,

2016 email attached to Plaintiff’s Complaint as Exhibit C. Defendant refers to the email

for the terms thereof as the document speaks for itself.

       12.     The allegations in paragraph 12 refer solely to the terms of the April 1,

2016 email attached to Plaintiff’s Complaint as Exhibit D. Defendant refers to the email

for the terms thereof as the document speaks for itself.

       13.     The allegations in paragraph 13 refer solely to the terms of the April 1,

2016 email attached to Plaintiff’s Complaint as Exhibit D. Defendant refers to the email

for the terms thereof as the document speaks for itself.

       14.     Defendant denies the allegations in paragraph 15 and demands strict proof

thereof.

       15.     Defendant admits that it has received payments for certain samples that

originated as referrals from Plaintiff, but denies the characterization that it has been paid

“for a substantial number” of the samples.

       16.     Defendant denies the allegations in paragraph 16 and demands strict proof

thereof.

       17.     Defendant denies the allegations in paragraph 17 and demands strict proof

thereof.

                        COUNT I – BREACH OF CONTRACT
                    4eleven Consulting, LLC v. Trident Labs, LLC

       18.     Paragraph 18 requires no response.

       19.     Defendant admits the allegations in paragraph 19 to the extent it executed

the “Compensation Agreement” attached to Plaintiff’s Complaint as Exhibit A.




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Defendant refers to the Compensation Agreement for the terms thereof as the document

speaks for itself.

        20.     Defendant denies the allegations in paragraph 20 and demands strict proof

thereof.

        21.     Defendant denies the allegations in paragraph 21 and demands strict proof

thereof.

        22.     Defendant denies the allegations in paragraph 22 and demands strict proof

thereof.

        23.     Defendant denies the allegations in paragraph 23 and demands strict proof

thereof.

                           COUNT II – QUANTUM MERUIT
                     4eleven Consulting, LLC v. Trident Labs, LLC

        24.     Paragraph 24 requires no response.

        25.     Defendant admits that Plaintiff has made demands upon it for payment,

but denies that Plaintiff is entitled to the demanded amount.

        26.     The allegations in paragraph 26 constitute conclusions of law that require

no response. To the extent a response is deemed required, Defendant denies the

allegations in paragraph 26.

        27.     Defendant denies the allegations in paragraph 27.

        28.     Defendant denies the allegations in paragraph 28.

                               AFFIRMATIVE DEFENSES

        1.      Plaintiff’s Complaint fails to state claims against Defendant upon which

relief may be granted because Defendant did not breach the “Compensation Agreement”

and Plaintiff is not entitled to relief under the equitable doctrine of quantum meruit.



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       2.      Defendant denies liability generally.

       3.      As evidenced by the face of the complaint, Plaintiff’s alleged damages are

based upon pure speculation and conjecture and do not accurately reflect how Plaintiff

was to be compensated under the “Compensation Agreement.”

       4.      Plaintiffs cannot proceed under both of its purported causes of action. If it

contends that the “Compensation Agreement” is a valid and enforceable contract it

cannot recover under an equitable theory of quantum meruit.

       5.      Plaintiff’s claims are barred by the doctrine of payment because Defendant

has compensated Plaintiff for all amounts allegedly due and owing.

       6.      Plaintiff’s request fort attorneys’ fees is improper because the

“Compensation Agreement” does not contain a fee-shifting provision or otherwise

provide for the payment of attorneys’ fees in the event of a dispute arising out of the

contract.

       7.      Plaintiff’s request for damages relating to its “professional reputation” in

its claim for quantum meruit has no merit because this is not a category of damages

recoverable under a theory of quantum meruit under Maryland or Michigan law.

       WHEREFORE, having answered Plaintiff’s’ Complaint in full, Defendant

requests that the Complaint be dismissed, with prejudice, and that it be awarded its costs

and fees incurred for defending against this action.




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                                      Respectfully submitted,

                                      MARCUSBONSIB, LLC


                                      /s/ Joseph A. Compofelice, Jr.
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                                      compofelice@marcusbonsib.com
                                      Counsel for Defendant



                                JURY TRIAL DEMAND

       Defendant demands a trial by jury on all issues so triable.


                                      /s/ Joseph A. Compofelice, Jr.
                                      JOSEPH A. COMPOFELICE, JR., ESQ.



                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 4, 2016, a copy of the foregoing was
filed and served upon the following parties and counsel though the CM/ECF System for
the United States District Court for the District of Maryland, unless otherwise indicated:

Andrew P. Dollman, Esq.
Latsha Davis & McKenna, P.C.
1700 Bent Creek Boulevard, Suite 140
Mechanicsburg, Pennsylvania 17050
Counsel for Plaintiff




                                      /s/ Joseph A. Compofelice, Jr.
                                      Joseph A. Compofelice, Jr.




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